              Case 2:14-cv-00307-MJP Document 124 Filed 12/01/20 Page 1 of 5



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 2

 3   Patrick McMahon, WSBA #18809
     David L. Force, WSBA #29997
 4   Attorneys for Defendants
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 7   509-662-6131
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 8   patm@carlson-mcmahon.org
     davidf@carlson-mcmahon.org
 9                                                  THE HONORABLE MARSHA J. PECHMAN

10

11
                             UNITED STATES DISTRICT COURT
12                        WESTERN DISTRICT OF WASHINGTON
13                                    AT SEATTLE
14   GEORGE R. AYDELOTTE,                       NO. 2:14-CV-00307-MJP
15
                    Plaintiff(s),                   STIPULATION AND ORDER
16                                                  OF DISMISSAL WITH
              vs.
17                                                  PREJUDICE
     TOWN OF SKYKOMISH, et al.,
18

19                  Defendant(s).
20

21            THE ABOVE-ENTITLED ACTION, having been fully settled and
22
     compromised between Defendants TOWN OF SKYKOMISH, ALAN A.
23

24   GRIDER, CRYSTAL GRIDER and MIKE D. DESCHEEMAEKER and Plaintiff
25
     GEORGE R. AYDELOTTE, the undersigned attorneys for the respective parties,
26

27   hereby stipulate to the entry of an Order of Dismissal with Prejudice as to all
28
     parties, claims and causes of action and without costs or attorney fees to either
29

30   party.


     STIPULATION AND ORDER OF DISMISSAL WITH               Carlson & McMahon, PLLC
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     PREJUDICE                                                Wenatchee, WA 98807-2965
     Page 1                                                (509) 662-6131 Fax (509) 663-0679
            Case 2:14-cv-00307-MJP Document 124 Filed 12/01/20 Page 2 of 5



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 3
     DATED: 12/01/2020.                        DATED: 12/01/2020.
 4

 5   CARLSON & McMAHON, PLLC                   CARLSON & McMAHON, PLLC
 6

 7
     By:    /s/ Patrick McMahon                By:    /s/ David L. Force
 8         PATRICK McMAHON                           DAVID L. FORCE
 9         WSBA #18809                               WSBA #29997
           Attorney for Defendants                   Attorney for Defendants
10

11   DATED: 12/01/2020.                        DATED: 12/01/2020.
12
     DAVIS WRIGHT TREMAINE, LLP                CHRISTIE LAW GROUP, PLLC
13

14

15   BY: /s/ James E. Howard                   By:    /s/ Thomas P. Miller
         JAMES E. HOWARD                             THOMAS P. MILLER
16
         WSBA #37259                                 WSBA #34473
17       Attorney for Plaintiff                      Attorney for Defendants
18

19
     DATED: 12/01/2020.                        DATED: 12/01/2020.
20
     DAVIS WRIGHT TREMAINE, LLP                DAVIS WRIGHT TREMAINE, LLP
21

22
     BY: /s/ MaryAnn T. Almeida                BY: /s/ Rose McCarty
23
         MARYANN T. ALMEIDA                        ROSE MCCARTY
24       WSBA #49086                               WSBA #54282
25
         Attorney for Plaintiff                    Attorney for Plaintiff
26

27                                     ORDER
28
            THE ABOVE MATTER coming on regularly for hearing this date in
29

30   open court upon the stipulation of the parties for the entry of an Order of


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 1
     Dismissal with Prejudice as to all parties, claims, and causes of action between
 2

 3
     the above-named Defendants and Plaintiff George R. Aydelotte, and without
 4
     costs or attorney fees to either party, NOW, THEREFORE,
 5

 6
           IT IS HEREBY ORDERED, ADJUDGED and DECREED that the above
 7
     action is hereby dismissed with prejudice and without costs or attorney fees to
 8

 9   either party.
10
           DONE this 1st day of December, 2020.
11

12

13

14

15
                                                  A
                                                  Marsha J. Pechman
                                                  United States Senior District Judge
16

17

18   Presented by:
19
     CARLSON & McMAHON, PLLC
20

21   By:   /s/ Patrick McMahon
22
           PATRICK McMAHON, WSBA #18809
           Attorney for Defendants
23

24   CARLSON & McMAHON, PLLC
25
     By:   /s/ David L. Force
26
           DAVID L. FORCE, WSBA #29997
27         Attorney for Defendants
28
     CHRISTIE LAW GROUP, PLLC
29

30   By:    /s/ Thomas P. Miller
           THOMAS P. MILLER

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               Case 2:14-cv-00307-MJP Document 124 Filed 12/01/20 Page 4 of 5



 1
             WSBA #34473
 2           Attorney for Defendants
 3

 4

 5   Approved as to Form and Content;                                       Approved as to Form and Content;
 6
     Notice of Presentation Waived:                                         Notice of Presentation Waived:
 7
     DAVIS WRIGHT TREMAINE, LLP                                             DAVIS WRIGHT TREMAINE, LLP
 8

 9
     BY: /s/ James E. Howard                                                BY: /s/ MaryAnn T. Almeida
10
         JAMES E. HOWARD                                                        MARYANN T. ALMEIDA
11       WSBA #37259                                                            WSBA #49086
12       Attorney for Plaintiff                                                 Attorney for Plaintiff
13
     Approved as to Form and Content;
14   Notice of Presentation Waived:
15
     DAVIS WRIGHT TREMAINE, LLP
16

17

18   BY: /s/ Rose McCarty
         ROSE MCCARTY
19
         WSBA #54282
20       Attorney for Plaintiff
21

22

23

24   AWC05-02326\STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE 120120FINAL

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     STIPULATION AND ORDER OF DISMISSAL WITH                                           Carlson & McMahon, PLLC
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     PREJUDICE                                                                            Wenatchee, WA 98807-2965
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           Case 2:14-cv-00307-MJP Document 124 Filed 12/01/20 Page 5 of 5



 1

 2

 3                             CERTIFICATION OF SERVICE
 4
           I declare under penalty of perjury under the laws of the State of
 5

 6   Washington that on December 1, 2020 I electronically filed the foregoing with the
 7
     Clerk of the Court for the United States District Court for the Western District of
 8

 9   Washington using the CM/DKT system and forwarded a copy via electronic mail
10
     to the following party:
11

12                James E Howard jimhoward@dwt.com
13
                  MaryAnn Tatiana Almeida maryannalmeida@dwt.com
14

15
                  Rose McCarty rosemccarty@dwt.com
16

17                Thomas P Miller tom@christielawgroup.com
18

19         Signed at Wenatchee, Washington on December 1, 2020.
20

21
                                         /s/  Patrick McMahon
22
                                     PATRICK MCMAHON, WSBA #18809
23
                                         /s/   David L. Force
24
                                     DAVID L. FORCE, WSBA #29997
25

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